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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF COLORADO

 IN RE:                                                          CASE NO. 13-30277-TBM
 DOLLOFF, MATTHEW R

                                                                 CHAPTER 13

                 DEBTOR(S)


                            CHAPTER 13 TRUSTEE'S MOTION TO DISMISS


 The Standing Chapter 13 Trustee moves to dismiss the case based on the following:

 1. The Debtor(s) failed to make the payments required by the Plan.

         A. The Plan and/or current modified Plan requires the Debtor(s) to pay the current sum of
            $110.00 per month.

         B. The total paid into the Plan through May 23, 2018 is $5,500.00, the last payment having been
            received by the Trustee on March 2, 2018.

         C. Payment of $330.00 is required to be current through May 23, 2018.

 2. The Debtor(s) failure to comply with the requirements for relief under Chapter 13, Title 11, United
    States Code is prejudicial to creditors.

    WHEREFORE, the Trustee requests that this case be dismissed pursuant to 11 U.S.C. § 1307.




 Dated: May 23, 2018                                     By: /s/ Karen Perse
                                                                 Karen Perse
                                                                 for Chapter 13 Trustee
                                                                 4725 S. Monaco St., Ste. 120
                                                                 Denver, CO 80237
                                                                 Phone: 720.398.4444
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                                 UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF COLORADO

 IN RE:                                                           CASE NO. 13-30277-TBM
 DOLLOFF, MATTHEW R

                                                                  CHAPTER 13

                 DEBTOR(S)


                      NOTICE OF CHAPTER 13 TRUSTEE'S MOTION TO DISMISS


                            OBJECTION DEADLINE: June 13, 2018
 YOU ARE HEREBY NOTIFIED that Douglas B. Kiel, Chapter 13 Trustee, has filed a Chapter 13
 Trustee’s Motion to Dismiss with the bankruptcy court and requests the following relief:

                   Trustee seeks dismissal of the Chapter 13 case due to non-payment.

 If you oppose the motion or object to the requested relief your objection and request for hearing must be
 filed on or before the objection deadline stated above, served on the movant at the address indicated
 below, and must state clearly all objections and any legal basis for the objections. The court will not
 consider general objections.

 In the absence of a timely, substantiated objection and request for hearing by an interested party, the
 court may approve or grant the requested relief without any further notice to creditors or other interested
 parties.



 DATED: May 23, 2018                                       By: /s/ Karen Perse
                                                                   Karen Perse
                                                                   for Chapter 13 Trustee
                                                                   4725 S. Monaco St., Ste. 120
                                                                   Denver, CO 80237
                                                                   Phone: 720.398.4444
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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF COLORADO

 IN RE:                                                          CASE NO. 13-30277-TBM
 DOLLOFF, MATTHEW R

                                                                 CHAPTER 13

                 DEBTOR(S)


                                       CERTIFICATE OF SERVICE


 I hereby certify that a copy of the Chapter 13 Trustee’s Motion to Dismiss, and Notice of Chapter 13
 Trustee’s Motion to Dismiss was placed in the U.S. Mail, postage pre-paid, on May 23, 2018.

 MATTHEW R DOLLOFF                                 WEINSTEIN PINSON AND RILEY PS
 2991 ROCK CIRCLE                                  BRITNEY BEALL-EDER ESQ
 ELIZABETH, CO 80107                               999 18TH STREET
                                                   STE 2101N
                                                   DENVER, CO 80202



 Notice by Electronic Transmission was sent to the following persons/parties:
 WATTON LAW GROUP


 DATED: May 23, 2018                                     /s/ Janice LeGros
                                                             Janice LeGros
